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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                  BRIDGEPORT DIVISION

                                                  :       CHAPTER 11
In re:                                            :
                                                  :
HO WAN KWOK,1                                     :       Case No. 22-50073(JAM)
                                  Debtor.         :
                                                  :


           CREDITORS RUI MA, ZHENG WU AND WEICAN MENG’S JOINDER
           TO OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED
             CREDITORS TO THE DEBTOR’S MOTION FOR RELIEF FROM
            ORDER APPOINTING LUC A. DESPINS AS CHAPTER 11 TRUSTEE

         Creditors Rui Ma, Zheng Wu and Weican Meng (“Creditors”), by and through their

undersigned counsel, hereby join in, and incorporate herein, the Objection to Debtor’s Motion

for Relief From Order Appointing Luc A. Despins as Chapter 11 Trustee filed by the Official

Committee of Unsecured Creditors (the “Committee”) [ECF 621] for the reasons set forth

therein.

Dated: July 27, 2022

                                                 /s/ Kristin B. Mayhew
                                                  Kristin B. Mayhew (ct20896)
                                                  McElroy, Deutsch, Mulvaney & Carpenter, LLP
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                                                -and-




1
    The above-named Debtor and Debtor in Possession, Ho Wan Kwok (the “Debtor” or “Kwok”) is known by the
    following names: Guo Wengui; Miles Guo; Miles Kwok; and Ho Wan Kwok.

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                                 CERTIFICATE OF SERVICE

       I, Kristin B. Mayhew, hereby certify that a true and accurate copy of the foregoing was

filed with the Court on July 27, 2022. Notice of this filing will be sent by e-mail to all parties

by operation of the court’s electronic filing system. Parties may access this filing through the

court’s CM/ECF System.




                                                     /s/ Kristin B. Mayhew
                                             Kristin B. Mayhew




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